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                                                                                               flISTFUCT COUR T
         UNITED STATES DISTRICT COURT                                                      Ss i" ;4„ DIV.
         SOUTHERN DISTRICT OF GEORGIA
             STATESBORO DIVISIO N                                                    nml IN, 12 PH 2 . 5 2
LYNETTE TANKERSLEY EDEN,

          Plaintiff,                                 amount of that surplus . Thus; the: law provides
                                                     B with an alternative, statutory damages
V.   605CV043
                                                     formula as compensation.
CitiFinancial AUTO ,
LTD .,                                                  The problem here is that Georgia law
                                                     provides two overlapping statutes with statutory
          Defendant.
                                                     damage remedies . Which one should apply
                                                     here is one issue ; what limitations statute
                       ORDE R
                                                     governs B's defective-notice claim is another .
1. INTRODUCTION                                      These and other issues are addressed below .

   This lender liability case raises issues best     II. BACKGROUN D
illuminated by the following hypothetical : A
sells a car to B, who buys it with money lent by         Plaintiff Lynette Tankersley Eden purchased
C. B later defaults, and C repossesses the car .     a car financed by defendant CitiFinancial Auto,
C then sends B a statutorily required notice         Ltd . (CitiFinancial) . Doc . # I (Complaint) ¶¶ 1-
announcing C's intent to sell the car and pursue     15 . After she defaulted on that loan,'
B for any deficiency between the sale proceeds       CitiFinancial repossessed and then sold the car .
and the remaining amount of the debt .               Id.    Eden alleges that the defendant then
                                                     pursued a deficiency judgment against here
   The purpose of that notice is to give B a         without first providing her with proper post-
chance to come up with the money to purchase         repossession notice of sale under Georgia's
the car back or beckon others to buy it. The         Motor Vehicle Sales Finance Act (MVSFA),
more buyers B can beckon to bid up the car's         O .C .G.A. § 10-1-36(a), and Georgia's UCC
price, the greater the chance B has of closing       Article 9 ( O .C.G.A. § 11-9-607 - § 11-9-614) .
the deficiency gap and thus avoid a deficiency       Id. ¶ 16-25 .
judgment . But what if C fails to send B the
notice, or mishandles it (e.g., affixes                 Plaintiff therefore brought this action,
insufficient postage) so that B never gets it?       alleging that CitiFinancial violated the MVSFA
                                                     and its UCC counterpart by failing to give
   In a consumer-based financing arrangement,        notice, along with violations of redemption and
B will now enjoy a rebuttable presumption that       accounting requirements . Doc # 1 ¶¶ 26-49 .
the debt equals the vehicle's sale price . Hence,    CitiFinancial also violated the Fair Deb t
C's deficiency pursuit will be barred if C cannot
rebut that presumption . But B also is entitled to
                                                     ' In fact, her son co-signed the loan, doc . # 35 at 22-23
something more since, due to C's misstep, B          & exh. 1 ; doc . # 36 exh . 1, but for convenience the Court
has now lost a chance to beckon bids that might      will reference only Lynette hereafter .
have exceeded the loan amount and thus created
a surplus that legally belongs to B . With no        2 There is no dispute that the lo an documents authorized
sale, B also has lost an opportunity to prove the    personal recourse for any post-default, post-repossession
                                                     deficiency. Doc . # 32 (Jacobs Aff.) 14 ; # 36 exh . 3 at 2 .
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Collection Practices Act (FDCPA), 15 U .S .C .              Inc. v. Boss Transp ., Inc., 2006 WL 901722 at
§§ 1692 et seq., she further alleges, when it               * 5 (M .D.Ga. 4/6/06) (unpublished) .
contacted her directly and via two collection
agencies after she informed it that she was                    Failure to comply with § 10-1-36(a) bars a
represented by counsel . Doc . # 1 ¶¶ 50-72 .               deficiency judgment. In re Chambliss, 315
                                                            B.R. 166, 170 (Bankr .S.D .Ga. 2004); Ali v .
   Finally, Eden also pursues the defendant for             World Omni Financial Corp., 240 Ga.App. 9,
violating the Fair Credit Repo rting Act (FCRA),            9-10 (1999) (Creditor's failure to give defaulted
15 U .S.C . § 1681 et seq., by reporting her                purchaser proper notice of sale of repossessed
contested debt to a credit repo rt ing agency.              vehicle barred creditor from recovering
Doc. # 1 ¶¶ 73-80 . She seeks FCRA and                      deficiency judgment) . Whether the aggrieved
O.C .G.A . § 13-6-11 attorney fees , plus punitive          debtor is also entitled to damages for such non-
damages . Id. ¶¶ 81-89 .                                    compliance is addressed in Part III (F) infra .

   CitiFinancial denies liability, counterclaims               The UCC imposes similar st an dards on
for a deficiency judgment, and moves for                    creditors ;4 that statute naturally leads to the
summary judgment . Doc . ## 3, 32. Eden                     question whether the UCC remedy is redundant
herself moves for partial summary judgment .                here . As explained in 10 ANDERSON U .C .C. §
Doc . # 28 . Meanwhile, she has dropped her                 9-504 :11 (3d ed . Sept. 2005), some states apply
FDCPA claim, doc . # 38 ; # 40 at 10 ; # 41 at 3,           a local non-UCC Code statute like the MVSFA
and the Court has denied her motion for leave               when the creditor is a dealer in the kind of
to amend her complaint to allege a class action .           collateral involved . Id.
Doc . # 30.

III. ANALYSI S                                              a As the Georgia Supreme Court explained :


   A. Governing Standards3                                           The UCC's statutory framework makes
                                                                     clear that repossession alone is not
                                                                     enough to extinguish the debtor's
   The MVSFA applies to the financing of                             ownership in the collateral , but that a
motor vehicle sales in Georgia , including the                       creditor must go through additional
recovery of a de fi ciency against a buyer                           steps after repossession to obtain
following the repossession and sale of the                           ownership . For example , OCGA §§
                                                                     11-9-610 to -614 provide the
vehicle that secures the financing loan.
                                                                     procedure by which a creditor may
O.C .G.A . § 10-1-36(a) . A financing seller                         dispose of collateral after default, and
cannot recover a deficiency against a buyer                          OCGA § 11-9-610( c) specifically
unless, within ten days of the repossession, the                     provides that the "secured party may
seller notifies the buyer by registered or                           purchase [the] collateral . "

certified mail of its intent to pursue a deficiency
                                                            Motors Acceptance Corp. v . Rozier, 278 Ga . 52, 53
claim . Id. ; see also Financila Federal Credit             (2004) . A debtor has other rights (under Georgia's
                                                            version of the UCC) after repossession in addition to the
                                                            right of redemption, including the right to notice before
                                                            disposal of the collateral ; the right to demand that the
'This Court will apply the summary judgment standards       creditor exercise due care to preserve the collateral ; the
recounted in Morrison v. Amway Corp ., 323 F .3d 920,       right to any surplus ; and for damages for a creditor's
924 (11th Cir . 2003) .                                     failure to comply with the UCC's requirements . Id, at 53 .

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    That may be the case in Georgia. In fact,            it is not a car dealer -- does not invoke an Ervin
ANDERSON cites Ervin v. Arnold, 197 Ga . App .           defense here ( i.e., that CitiFinancial is not a
841, 842 ( 1990) (lender who repossessed was             dealer, only a lender , so the MVSFA is
governed by the UCC and thus was not required            inapplicable). The Court therefore will follow
to comply with the MVSFA' s notice                       the Lacy-Calcote analytical framework . Eden
requirements because lender was not engaged in           is free to invoke the MVSFA/UCC framework
the business of selling motor vehicles to retail         of remedies here .
buyers in retail installment actions ), cited in
HAND . AUTO . WARR . & REPOSS. § 12 :33 (2d                 When repossession occurs the MVSFA's
ed . July 2005), and 4 GA . JUR. BUSINESS TORTS          10-day notice period begins, and the
AND TRADE REGULATION § 5 :37 (Nov . 2005)
("The notice requirements of the [MVSFA]                    notice need only be sent within 10 days of
only apply to those persons who are engaged in              repossession by registered or certified
the business of selling motor vehicles to retail            mail to the address shown on the contract
buyers in retail installment actions , even where           or to the one later designated by the buyer
the property that was sold in a transaction could           to be effective[ . However,] there is no
be considered a `motor vehicle ' under the                  requirement that the notice be received .
provisions of the Act") (footnote omitted) .                Thus, a debtor may not evade notification
                                                            by refusing to accept certified mail if
   Yet some Georgia cases reach a contrary                  there is a reasonable attempt to deliver
result . Lacy v. Gen . Fin. Corp., 651 F .2d 1026,          notice to the debtor's address .
 1027-28 (5th Cir . 1981) (Georgia law)
(applying both statutes in overlapping fashion           4 GA . JUR . BUSINESS TORTS AND TRADE
to a non-dealer lender who financed a motor              REGULATION § 5 :37 (Nov. 2005) ; GA .
vehicle purchase) ; accord Calcote v . Citizens &        ENFORCEMENT SECURITY INTERESTS PERSONAL
Southern Nat'l Bank, 179 Ga .App . 132, 133-34           PROPERTY § 84(3d ed . 2006) .
(1986) . Both Lacy and Calcote invoked the
MVSFA's notification requirement to                         Diligence is required of both creditors and
determine what constitutes reasonable notice             debtors . A debtor who fails to keep her creditor
under Georgia's UCC repossession-notice-                 apprised of her address change, for example,
deficiency scheme, which is now primarily                will not be heard to complain when the
codified within O.C .G.A . § 11-9-610 - § 11-9-          creditor's MVSFA notice comes back
614 . In fact, the Calcote court pointed out that        "unclaimed ." Calcote, 179 Ga . App . at 133
the MVSFA "must be read in conjunction with              (although letter containing notice was twice
[Georgia's UCC provisions] ." 179 Ga.App. at             returned unclaimed to secured party, notice was
 133 ; see also O.C.G.A. § 10-1-36(c) (the               reasonable because secured party mailed it to
MVSFA remedies provide "cumulative                       debtor's current address, as well as location
additional rights and remedies which must be             where car was repossessed ; "[t]here is no
fulfilled before any deficiency claim will lie           requirement in OCGA § 10-1-36 that the debtor
against a buyer ...").                                   actually receive notice") ; Lacy, 651 F.2d at
                                                         1028 (even though notice was returned
  Neither of these cases has been overruled,             undelivered and marked "moved, left no
and the Ervin court did not even mention them.           address," reasonable notification was given
This may be why CitiFinancial -- even though             when secured party mailed to address provide d

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in finance contract); see also Hill v. Fed.             compliant post-repossession notice ; (b) the
Employees Credit Union, 193 Ga .App. 44, 45             MVSFA affords her no private right of action
(1989) (Two attempts to deliver certified mail          but acts only as a deficiency-collection bar (i. e .,
to borrower's correct address and borrower's            its civil penalty remedies are limited to other
refusal to accept delivery complied with                types of violations); (c) even where monetary
requirement that buyer of vehicle actually              damages are permitted, the MVSFA requires a
receive notice of intention to seek deficiency) .       showing of willfulness that Eden cannot show ;
                                                        and (d) her MVSFA claim is untimely . Doc. #
   Similarly, a creditor also must st rictly            33 at 4-8 ; # 41 at 1-2 .
comply with the statutory remedies . It must sell
collateral in stri ct compliance with the UCC's            Defendant also attacks Eden's UCC claim on
notice of sale provisions , lest it prevent a           the grounds that it provided statutorily
purchaser or owner from exercising his right of         compliant notice . Id. at 8-9 . It also argues that
redemption under the above statutes . Failure to        Eden's FORA claim fails because that statute
comply can preclude a deficiency recovery .             provides no private right of action . Doc . # 33 at
GEMC Fed. Credit Union v. Shoemake, 151                 11-12. Even were that not the case,
Ga.App. 705, 705-06 (1979) (Although debtor             CitiFinancial argues, her claim fails on the
was notified by certified mail that in event of         merits because an FCRA claim depends on
sale creditor would pursue deficiency claim,            inaccurate credit reporting, and Eden failed to
where such notice did not advise debtor of any          point to any such reporting here . Id. at 12-14 .
contemplated public or private sales , creditor
did not comply with statute gove rning                      Because plaintiff's substantive claims fail,
notification of sale of collateral to be given by       CitiFinancial further argues , her punitive
secured party to debtor) .                              damages claim -- dependent on the existence of
                                                        viable compensatory damages claims --
   B. Eden ' s Summary Judgment Motion                  likewise fails . Doc. # 33 at 14. Defendant also
                                                        is entitled to judgment on its counterclaim for a
   Eden's partial summary judgment motion is            deficiency judgment, it contends, because Eden
straightforward : CitiFinancial "did not give the       does not question the accuracy of the $6 , 887.94
plaintiff the post-repossession notices required        deficiency a rising from the resale of the subject
by [the MVSFA and UCC], so the plaintiff is             vehicle . Id. at 15 . Defendant also pursues
entitled to statutory damages ." Doc. # 28 at 1 .       $713 .79 in attorney fees and costs under the
CitiFinancial's counterclaim for the deficiency         formula set forth in O .C.G.A . § 13-1-11(a)(2) .
fails, she argues, because its failure to provide       See Financila , 2006 WL 901722 at * 7 .
an MVSFA notice bars recovery . Id. at 1-2 .
She therefore demands $5,443 .45 in O .C.G.A.               Finally, CitiFinancial's challenge to Eden's
§ 11-99-625(c)(2) (Georgia's UCC) damages               FDCPA claim is moot because she has dropped
and $8,329 .18 in MVSFA damages . Id. at 7, 9 .         it. Doc . #33at9-11 ;#38 ;#40at10 ;#41 at3 .
                                                        Eden has countered defendant's arguments in a
   C. CitiFinancial 's Summary Judgmen t                series of briefs . Doc. ## 39, 40, 42, 43 .

   CitiFinancial, in turn, moves for summary
judgment against Eden's MVSFA claim on the
grounds that (a) she was provided statutorily

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   D. Notic e                                             notation that a 12/4/03 letter to Eden "was
                                                          returned destroyed[, and thus] may need to be
       1. Delivery                                        recreated if nee ." Nor, finally, does
                                                          CitiFinancial point to any other document that
   This case turns on whether CitiFinancial               it sent to her which also bears that date .
certified-mailed a legally sufficient deficiency
notice to Eden. Eden says that defendant never                To that end , defendant ' s copy of the notice
did mail it, and in any event it is substantively         letter itself bears no certified -mail number, and
defective. Doc . # 43 at 1-10 . CitiFinancial first       CitiFinancial points to no return receipt
jumps ahead and claims harmless error because             showing that it mailed Eden the letter . Cf.
Eden admits she would have been unable to                 Busquets-Ivars v. Ashcroft, 333 F.3d 1008,
redeem the vehicle even if notified . Doc. # 33           1009 (9th Cir . 2003) (While it is presumed that
at 9. She responds that she need not show                 a properly addressed piece of mail placed in the
reliance and is entitled to statutory damages --          care of the Postal Se rvice has been delivered, no
that there is no such "harmless error" escape             such presumption of delivery exists for certified
hatch here . Doc. # 43 at 10-11 .                         mail when the requested return receipt is not
                                                          received by the sender ); see generally 1
   CitiFinancial also asserts that it mailed Eden         HANDBOOK OF FED . EVID . § 301 :14 (6th ed .
notice via certified mail, doc . # 32 (Jacobs Aff.)       2006). For that matter, Eden swears she never
¶ 7, but Eden points to defendant's own records,          received it . Doc. # 28 (Eden Aff.) at 11-13 .
which show that the "letter sent 12/4 was
returned destroyed[, and thus] may need to be                 Despite this evidence, CitiFinancial insists
recreated if nee ." Doc . # 39 (attached Request          that it mailed the notice to Eden. Doc . # 40 at
for Admissions, attaching "CITI 0054"                     2 . It cites its own representative's (Thomas
document) ; # 40 at 1-2 .                                 Jacobs's) attestation on that score, and he bases
                                                          his assertion "upon my personal knowledge and
   CitiFinancial admits that the "CITI 0054"              upon my review of documents, records, and
document is one of its business records, doc . #          data compilations made and kept in the regular
39 (attached Request To Admit responses ¶¶ 8-             course of [defendant's] business . . . ." Doc . # 32
9), but denies that it references the statutory,          (attached Jacobs Aff. ¶ 1) (emphasis added) .
repossession/sale notice that it was required to
send Eden . Id. ¶ 10 . It further denies that it             However, while Jacobs asserts that
made no effort to re-send such notice . Id. ¶ 11 .        CitiFinancial sent the 12/4/03 notice to Eden,
Yet it supports those denials with no sworn               id. ¶ 7, he lays no foundation to show his
testimony or attestation from anyone with                 personal knowledge (e .g. he does not swear that
personal knowledge . Nor does it adduce any               he mailed it personally) that the letter in fact
competent evidence to show what became of                 was sent. Nor does CitiFinancial deny
the "destroyed" 12/4 notice, much less what it            plaintiffs assertion that Jacobs attested from
was .                                                     Colorado about a letter claimed to have been
                                                          sent from Charlotte, N .C. Doc. # 40 at 3 .
    Furthermore , there is no dispute that
CitiFinancial dated its statutory, "repo-resale"             The Court therefore agrees with Eden that a
notice to Eden 12/4/03 . Doc . # 36 exh. 7 . That         jury issue exists over whether CitiFinancial in
is the same date as CitiFin ancial 's own inte rnal       fact mailed its statutory notice to Eden . The

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Court further agrees that where (as a jury could                   Diligence, for that ma tter, is part of the
so find here) a creditor is informed that its own
notification attempt has failed, some reasonable                         B .R. 34 (W .D . Va. 1994) (bank
                                                                         violated notice requirement by sending
attempt at re-notification must be attempted .                           letter to incorrect address that debtor
                                                                         had not used in six years when in fact
   That obligation derives from the reasonable                           personnel at branch fully knew current
diligence baseline noted above . Again, just as                          address) ; Day v . Schenectady Discount
a debtor who fails to keep her creditor apprised                         Corp ., 125 Ariz . 564, 611 P .2d 568,
                                                                         28 U .C .C . Rep . Serv . 927 (Ct. App .
of her address change cannot be heard to                                 Div. 2 1980) ; Brack Rowe Chevrolet
complain, a creditor who fails to update his                             Co . v . Walls, 201 Ga. App . 822, 412
records upon such notice cannot be said to have                          S .E .2d 603 (1991) (dispute whether
complied with the MVSFA's notice provisions .                            debtor provided forwarding address to
                                                                         financier) ; Commerce Bank of St.
See Brack Rowe Chevrolet Co. v. Walls, 201
                                                                         Louis, N.A . v . Dooling, 875 S .W .2d
Ga . App. 822, 823-24 (1991) .                                           943, 23 U .C.C . Rep . Serv. 2d 649
                                                                         (Mo . Ct . App . E .D . 1994) (where
   Nor, then, should it be sufficient if the                             notice sent to debtor's home was
creditor has reason to know or reasonably                                returned " no such address" and
                                                                         debtor's home and work numbers and
should know that by some mechanical or human
                                                                         work address were on loan application,
failure (e .g., insufficient postage) the letter                         bank could have tried harder to learn
likely never did reach its destination . See, e.g.,                      her correct address) ; Mallicoat v .
Edmonson v. Air Serv. Co ., 123 Ga. App . 263,                           Volunteer Finance & Loan Corp., 57
264 (1971) (Where only attempt made by                                   Tenn . App . 106, 415 S .W .2d 347, 3
                                                                         U .C .C . Rep . Serv . 1035 (1966), on
secured creditor to notify defaulting debtor of
                                                                         reh'g, 4 U .C .C . Rep . Serv. 49 (Tenn .
the time of a private sale of a repossessed                              Ct . App . 1967) (where registered letter
backhoe was by a letter addressed to debtor and                          was returned unclaimed, financer's
mailed by certified mail, and where the letter                           failure to use information concerning
was returned to sender marked unclaimed and                              debtor's place of employment and
                                                                         parent's address precluded recovery of
stamped "postage due 9 cents," debtor did not
                                                                         deficiency judgment) ; Chrysler Dodge
receive notification of time of the backhoe's                            Country, U .S.A ., Inc . v . Curley, 782
private sale and thus was not liable for                                 P .2d 536, 11 U .C .C . Rep . Serv. 2d 381
deficiency) .'                                                           (Utah Ct. App. 1989) (notice sent to
                                                                         debtor 's brother-in-law's address held
                                                                         re as onable where debtor had moved
                                                                         several times without leaving a
5 An encyclopedic source has collected a variety of cases                forwarding address but had informed
showing, ultimately, that creditors must employ                          seller that brother-in-law was taking
reasonable noti fi cation efforts :                                      over payments and last payment had
                                                                         been received from that address) ; First
         See Ford Motor Credit Co. v. Solway,                            Virginia Bank-Mountain Empire V .
         825 F .2d 1213,4 U .C .C . Rep. Serv. 2d                        Ruff, 17 U .C .C . Rep . Serv. 2d 663 (Va .
         630 (7th Cir . 1987) (notice sent to                            Cir . Ct . 1992) (bank mailed notice to
         dealer-guarantor's address listed on                            address listed on sales contract but
         guaranty held reasonable since                                  knew address was wrong and that
         financer was not aware of address                               notice was not received) .
         change ) ; In re Bush, 166 B .R . 69, 23
         U .C.C . Rep . Serv . 2d 1270 (Bankr .                 HAND. AUTO . WARR. & REPoss . § 12 :42 n . 4 (2d ed . July
         W .D . Va . 1994), judgment rev'd, 169                 2005) .

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creditor's duty of good faith imposed by                                10-1-36(a), she points out, similarly requires an
Georgia law . Geohagan v. Commercial Credit                             expressed intent to sell the repossessed
Corp ., 130 Ga .App . 828, 830 (1974) (Duties of                        collateral and pursue any remaining deficiency .s
secured party with reference to sale of collateral
after default imposes obligation of good faith in
performance of those duties) ; accord Lacy, 651                                  following rules apply:
F .2d at 1028 . That means that the creditor must
act reasonably in the face of an obvious flaw in                                 (1) A notification of disposition must
                                                                                 provide the following information :
its notification process . States, incidentally, are
similarly obligated under due process norms .                                    (A) The information specified in
Jones v. Flowers, 126 S .Ct. 1708, 1713 (2006)                                   paragraph (1) of Code Section
(When mailed notice of tax sale is returned                                      11-9-613 ;
unclaimed, State, as matter of due process, must
                                                                                (B) A description of any liability for a
take additional reasonable steps to attempt to                                  deficiency of the person to which the
provide notice to property owner before selling                                 notification is sent ;
property, if it is practicable to do so) .
                                                                                (C) A telephone number from which
   Because CitiFinancial's own business                                         the amount that must be paid to the
                                                                                secured par ty to redeem the collateral
records strongly suggest that mechanical failure                                under Code Section 11 - 9-623 is
may very well have waylaid its notice to Eden,                                  available; an d
and because it fails to point to dispositive
corroborative evidence, plaintiff has raised a                                  (D) A telephone number or mailing
question of fact over whether CitiFinancial                                     address from which additional
                                                                                information concerning the disposition
satisfied its notice requirement to her .                                       and the obligation secured is available ;
Defendant's summary judgment motion on
these grounds therefore is denied . Likewise for                                (2) A particular phrasing of the
Eden's summary judgment motion on this issue .                                  notification is not required ;

                                                                                (3) The following form of notification,
       2. Contents of the Notice                                                when completed, provides sufficient
                                                                                information :
   Eden illuminates CitiFinancial' s notice that
it "may" sell her collateral (her car)' and
contends that this does not comply with §
                                                                                We will sell (describe collateral) at
O .C.G.A. § 11-9-614, which uses the words                                      public sale . A sale could include a
"will sell" in its prescribed notice .' O.C .G.A. §                             lease or license . The sale will be held
                                                                                as follows . . . .

                                                                    (Emphasis added) .
6 CitiFinancial's letter warned that "[i]f we get less
                                                                    B
money than you owe [from the sale of the automobile],                    Section 10-1-36 .1(a) provides in pertinent part :
you may still owe us the difference ." Doe . # 36 exh . 7 ; #
41 at 2 .                                                                       (a) When any motor vehicle has been
                                                                                repossessed after default in accordance
7 Section 11-9-614 provides :                                                   with Part 6 of Article 9 of Title 11, the
                                                                                seller or holder shall not be entitled to
         In a consumer goods transaction, the                                   recover a deficiency against the buye r

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Doc . # 43 at 8-10 . Plaintiff argues that intent                 thus equates CitiFinancial's equivocation over
must be clearly expressed, lest the debtor be                     whether it unmistakably would pursue a
lulled into inaction in trying to prevent any                     deficiency against her with equivocation over
deficiency judgment. For example, it obviously                    whether defendant in fact would sell her
would be far more difficult to beckon other                       repossessed car .
buyers if the borrower could not tell them for
certain whether the repossessed vehicle will be                      To that end, Eden highlights the Jacobs
sold . Doc . # 42 at 7-9 ; # 40 at 4 ; # 43 at 8 . Sh e           affidavit reflecting CitiFinancial's own
                                                                  understanding that at most it "might" seek a
                                                                  deficiency from her . Doc. # 40 at 2 ; doc . # 32
                  unless within ten days after                    (attached Jacobs Aff. 1 7) (describing
                  the repossession he or she                      defendant's MVSFA/UCC notice that it would
                  forwards by registered or
                                                                  sell the vehicle and "might seek from [Eden] a
                  certi fi ed mail or statutory
                  overnight delive ry to the
                                                                  deficiency after the sale") .
                  address of the buyer shown
                  on the contract or later                            Debtors typically prevail in deficient -notice
                  designated by the buyer a                       cases where they can show that a reasonable
                  notice of the seller's or
                                                                  person would not be able to reasonably
                  holder 's intention to pursue a
                  deficiency claim against the                    determine whether and when his collateral will
                  buyer . The notice shall also                   be sold . See Shoemake, 151 Ga.App . at 705-06 ;
                  advise the buyer of his or her                  Benton-Lincoln Credit Serv ., Inc. v. Giffin, 617
                  rights of redemption, as well                   P .2d 662, 664 (Or .App . 1980) (Le tter, which
                  as his or her right to dem and
                                                                  was sent to debtor after he defaulted on
                  a public sale of the
                  repossessed motor vehicle . In                  installment contract involving pickup truck and
                  the event the buyer exercises                   voluntarily surrendered possession of truck to
                  his or her right to demand a                    secured party, did not give debtor sufficient
                  public sale of the goods, he                    notice of secured party's private sale of truck so
                  or she shall in writing so
                                                                  as to satisfy state UCC statute where the only
                  advise the seller or holder of
                  his or her election by                          speci fic action of which debtor was notified by
                  registered or certified mail or                 the letter was secured party's intention to apply
                  statutory overnight delivery                    for certificate of title and le tter's only reference
                  addressed to the seller or                      to a sale merely indicated that it was one of the
                  holder at the address from
                                                                  remedies reserved to such party); Thong v. My
                  which the seller 's or holder's
                  notice emanated within ten                      River Home Harbour, Inc., 3 S.W.3d 373, 378
                  days after the posting of the                   (Mo .App. 1999) (Letter from secured creditor
                  original seller's or holder's                   regarding disposition of repossessed boat did
                  notice .                                        not se rve purpose of UCC notice, where le tter
Section 10-1-36 .1(a) (emphasis added) . This statute does
                                                                  did not inform debtor that boat would be sold
not mention "may" or "will" but expressly notes : "(c)            either at a public sale at a given time and place
This Code section is cumulative of Part 6 of Article 9 of         or at a private sale but only indicated that sale
Title 11 and provides cumulative additional rights and            was one available remedy and informed debtor
remedies which must be fulfilled before any deficiency            that he had to cure default within ten days from
claim will lie against a buyer, and nothing herein shall be
deemed to repeal said part ." Hence, CitiFinancial was
                                                                  date of letter or creditor would take possession
required to comply with § 11-9-614 .                              and exercise its rights , including sale of boat) .

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   Thus, a                                              not seriously misleading . [And a] particular
                                                        phrasing of the notification is not required ."
   party entitled to notice does not have such          GA . ENFORCEMENT SECURITY INTERESTS
   notice as satisfies the requirements of the          PERSONAL PROPERTY § 8-4 (3d ed . 2006)
   [UCC] when the party merely has                      (emphasis added) . Is the use of "may" here a
   knowledge or reason to know that the                 minor error that is not seriously misleading ?
   collateral has been repossessed and will
   eventually be sold, or that the creditor                 More importantly, does deciding that issue
   intends to sell the repossessed collateral           present an issue of fact here? Some say yes,
   "as expeditiously as possible ." Likewise,           GA . ENFORCEMENT SECURITY INTERESTS
   the fact that the debtor is aware of an              PERSONAL PROPERTY § 8-4 (3d ed . 2006),
   impending sale of the collateral does not            though summary judgment is not out of the
   constitute the "notice" required by the              question . See Cessna Fin . Corp. v. Wall, 876
   Code. A fortiori, a letter that is                   F .Supp. 273,274 (M .D .Ga . 1994) (General rule
   substantially a demand for payment, a                is that trier of fact is called upon to determine
   warning that the collateral would be sold            commercial reasonableness of private sale of
   at public sale ifpayments were not made,             aircraft after repossession under Georgia law ;
   a warning that the collateral would be               however, this issue of fact may be appropriate
   sold to the highest bidder, or a warning             subject for summary judgment or directed
   that the debtor would be liable for a                verdict), cited in Ann ., Sufficiency of secured
   deficiency should there be a sale, is                party's notification of sale or other intended
   insufficient as a notice of the sale of the          disposition of collateral under UCC sec .
   collateral .                                         9-504(3), 11 A .L .R.4TH 241 § 18(a) (1982) .

10 ANDERSON U.C.C . § 9-504 :601 (3d ed . Sept.            In that it is hardly clear whether the defect
2005) (footnotes omi tted; emphasis added) .            here is minor and not seriously misleading, an
                                                        issue of fact exists over whether CitiFinancial
    In this case the "may" in CitiFinancial's           failed to strictly comply with Georgia's
notice is deficient. That a lender "may" seek a         UCC/MVSFA notice requirements . The Court
deficiency is materially distinct from stating          therefore denies both parties summary j udgment
that it "will" do so . "May" might lull a debtor        on this issue .
to be less assiduous about beckoning bidders .
It sets the debtor's financial liability exposure          E. Statute of Limitation s
level at an undetermined level, and can mean
different things to different people within a              CitiFinancial argues that, even if Eden's
statutory scheme that is designed to promote, at        MVSFA/UCC notice claim has merit, it
bottom, accuracy and certainty .                        nevertheless is barred as untimely. Neither
                                                        party has cited any precedent establishing which
   To this CitiFinancial responds with                  limitations statute applies to the MVSFA or
precedent that essentially says that [t]he              UCC in this context . In that regard, see Moyer
"contents of a notification providing                   v. Citicorp Homeowners, Inc., 799 F .2d 1445,
substantially the information required by statute       1452 n . 20 (11th Cir . 1986) (Georgia law)
are sufficient, even if the notification includes       (analyzing but not deciding which of several
additional information or minor errors that are         limitations statutes might apply to th e

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MVSFA) ; Doyle v. Southern Guar. Corp ., 795              another one-year limitation forfeiture/penalty
F.2d 907, 914 (11th Cir . 1986) (applying one-            statute , applies here and thus bars Eden's
year limitations period limited to MVSFA                  MVSFA and UCC claims . Doc. # 33 at 7 . To
"usury actions" but expressly limiting that               that end, defendant cites Doyle, which applied
period to "actions to affirmatively cover interest        § 7-4-10(d) but as noted above restricted it to
paid more than a year before the action was               actions to recover interest argued to be usurious
instituted").                                             -- something that' s not even argued here (hence,
                                                          Doyle is distinguishable and § 7-4-10(d) is
   Specific limitations statutes exist in Georgia         inapplicable on its face ). The Moyer court, for
law, but none speak specifically of the                   that matter, considered § 9-3-28 in another
MVSFA/UCC notice claims . The parties agree,              usury-based MVSFA case but avoided reaching
however, that this action is traceable to the             the issue. Moyer, 799 F .2d at 1452 n . 20.
financing contract between these parties .
                                                              In fact, few cases construe § 9-3-28 . See,
   In that respect, oral, open account, and               e.g., Western Union Tel. Co . v . Nunnally, 86
implied contracts fetch Georgia's four-year               Ga . 503, 12 S .E. 578, 578 (1891) (Acts 1887,
limitations period as set forth in O .C .G.A. §           having imposed on any telegraph company
9-3-24, § 9-3-25 and § 9-3-26 . There is also a           failing to deliver a message in due time a
one-year limitations statute for actions brought          penalty to be recovered by the sender of the
by "informers" (i.e., those who seek to enforce           message , the law also imposed a one-year
a prohibitory statute's penalty provision) :              statute of limitations at [§ 9-3-28's predecessor],
                                                          providing that all actions by informers for any
   All actions by informers to recover any                fine, forfeiture, or penalty shall be commenced
   fine, forfeiture, or penalty will be                   in one year from the time the defendant's
   commenced within one year from the time                liability was discovered, or, by reasonable
   the defendant's liability thereto is                   diligence, could have been discovered); Greene
   discovered or by reasonable diligence                  v. Lam Amusement Co ., 145 F .Supp . 346, 348-
   could have been discovered .                           49 (N.D.Ga. 1956) (pursuit of treble damages
                                                          under antitrust laws was not a § 9-3-28 penalty,
O .C .G .A . § 9-3 -28;        see GA . PRACTICE &        so § 9-3-28 does not apply to antitrust actions) .
PROCEDURE    § 30:8 (2005 ed.) . CitiF inancial
argues that O .C .G.A. § 7-4-10(d),9 which i s               Could § 9-3-28 be applied here? If so, then
                                                          C itiFinancial would prevail against Eden on her
                                                          MVSFA claim . One predicate to answering that
' In pe rtinent part § 7-4-10 states :                    question is whether the MVSFA is a penalty
                                                          statute . See GA. LAW OF DAMAGES § 6 :5 (2005
          (a) Any person , company, or                    ed.); see also Central Nat'l Bank v . Dallas Bank
          corporation violating the provisions of
          Code Section 7-4-2 shall forfeit the
                                                          & Trust Co ., 66 S .W .2d 474 (Tex .Civ .App .
          entire interest so charged or taken or
          contracted to be reserved, charged, or
          taken . No further penalty or forfeiture                 (d) No plea or action for the recovery
          sha ll be occasioned, suffered, or                       of such forfeiture shall be barred by
          allowed .                                                lapse of time shorter than one year .

          *        *       *       *                      Id. (emphasis added) .

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1933) (citing Georgia law) ("[T]he words                             So if an action is based upon rights arising
`penalty' and `forfeiture' are generally used                     from a contract without which there would be
synonymously and a statute that inflicts                          no claim , then -- even if the case is brought
forfeiture for its breach is considered penal in                  under a penalty statute -- it nonetheless is a
nature") ; Busbee v . Gillis, 241 Ga . 353, 354-55                "suit to enforce rights existing by virtue of a
(1978) (Action brought by Board of                                contract," and the statute governing such
Commissioners of Peace Officers' Annuity &                        contracts applies . Id. at 543 . "This fact is not
Benefit Fund against county commissioners to                      altered merely because the statute permits an
collect a penalty for failure to pay amounts due                  additional recovery which is essentially in the
to the fund for the fines and forfeitures                         nature of a punishment for an insurer's failure to
collected by the state court of the county was                    comply with its contractual obligations ." Id. ;
governed by one-year statute of limitations                       see also Jenkins v . Hyundai Motor Financing
applicable to actions by informers to recover                     Co., 389 F .Supp .2d 961, 972-73 (S .D.Ohio
any fine, forfeiture, or penalty rather than by                   2005) ( similar result applying analogous Ohio
20-year statute of limitations for the                            law) .
enforcement of rights accruing under statutes) .
                                                                     Here the action would not exist but for the
   But Georgia courts scrutinize the core claim                   existence of the finance contract between the
in a case and apply the corresponding limitation                  parties. Therefore , O .C.G.A . § 9-3-24 (" Simple
statute accordingly . See Sentry Ins. v. Echols,                  contracts in writing") (four years ) applies .
174 Ga .App . 541, 543 (1985) (Actions seeking                    Also, the statutory remedies pursued by Eden
optional personal injury protection (PIP)                         here are designed to compensate for a potential
benefits under automobile policies are governed                   re-sale surplus rendered unquantifiable by the
by six-year limitation period for actions on                      creditor' s failure to comply with the
insurance contracts, rather than 20-year period                   UCC/MVSFA remedies . Hence, the statutory
for actions based on statutory rights, even                       remedies Eden invokes are more like a
though PIP statute permitted an additional                        compensatory measure than a penalty .
recovery regarding such benefits which is
essentially in the nature of a punishment for                        Since there is no dispute that Eden brought
insurer's failure to comply with its contractual                  her action within four years of the repossession
obligations , since action is nonetheless a suit to               and deficiency notice, doc . # 1 (Complaint filed
enforce rights existing by virtue of contract) ."                 411105) ; doc. # 36 exh. 7 (12/4/03 notice letter),
                                                                  she is entitled to summary j udgment against
                                                                  CitiFinancial on its limitations defense .
' As that cou rt explained , there is also a 20-year
limitation period contained in O .C .G .A. § 9-3-22, which
applies to actions to enforce a statuto ry penalty . But

         [OCGA § 9-3-22] has reference only
         to rights which arise under legislative
         enactment, and which would not exist
         except for some Act of the legislature .                          a statute , and not upon the contract of
         [Cit .] Houston v . Doe, 136 Ga .App .                            the parties . [Cit .]" Bigby v . Douglas,
         583, 584, 222 S .E .2d 131 (1975) . "A                            123 Ga . 635, 638, 51 S .E . 606 (1905) .
         statutory liability is one that depends
         for its existence upon the enactment of                  Echols, 174 Ga .App . at 543 (emphasis added) .

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   F. "Failed Notice" Damage s                                       disposition was commercially reasonable .
                                                                     If a secured party fails to prove that the
   CitiFinancial next argues that, even if Eden                      disposition was commercially reasonable,
can show that it failed to comply with the                           the debtor or secondary obligor is in effect
MVSFA and UCC and her claims are not time-                           credited with the greater of the actual
barred, they still fail because she can show no                      proceeds of the disposition or the
damages . Plaintiff admits she could not have                        proceeds which would have been obtained
redeemed the car even if timely notified,                            if the disposition had been commercially
defendant points out, and she basically agrees                       reasonable, and it is presumed that the
by arguing that she is entitled to "statutory                        amount of proceeds that would have been
damages" while at the same she seeks to                              realized is equal to the full amount of the
extinguish defendant's deficiency claim against                      indebtedness unless the secured party
her . Doe. # 43 at 10-11 .                                           proves that the amount is less than that
                                                                     amount .
   For a creditor to recover a deficiency, "every
aspect of the disposition of the collateral,                      Id. (footnote omi tted).
including the method, manner, time, place, and
terms, must be commercially reasonable ."                            Consumer transactions fetch additional
Atlantic Coast Fed. Credit Union v . Delk, 241                    remedies . Revised
Ga . App . 589, 590-91 (1999) .
                                                                     Article 9 leaves to the courts the
   "A disposition of collateral without notice is                    determination of the proper rules, and
not commercially reasonable ." GA .                                  courts may continue to apply established
ENFORCEMENT SECURITY INTERESTS PERSONAL                              approaches . In addition to having an
PROPERTY § 8-13 (3d ed . 2006) . The "failure to                     effect upon the secured party's right to
give notice to the debtor creates a rebuttable                       recover a deficiency balance, failure to
presumption that the value received for the                          give notice may give rise to a claim for
collateral is equal to the outstanding                               damages against the secured party for the
indebtedness ." Id. In that respect, Georgia law,                    loss of any surplus .
having adopted revised Article 9,11
distinguishes between consumer transactions                       Id. (footnotes omitted) . Though it was decided
(the case here) and non-consumer transactions :                   prior to the 2001, Article 9 revision, Delk has
                                                                  not been overruled, shown to be abrogated by
   A secured party need not prove that its                        the revision, or otherwise questioned . There the
   disposition was commercially reasonable                        appellate court held that sufficient evidence
   unless the debtor or a secondary obligor                       supported the debtor's verdict upon his showing
   places the secured party's compliance in                       that his creditor failed to, post-repossession, sell
   issue . [In that case,] the secured party has                  his vehicle in a commercially reasonable
   the burden of establishing that th e                           manner:

                                                                     Under OCGA § 11-9-507(1), failure to
" "Article 9 ofthe Uniform Commercial Code, O .C .G .A .
                                                                     conduct a commercially reasonable sale
§§ 11-9-101 et seq ., was repealed and replaced in its
entirety in 2001," 5 GA . JUR . UCC § 11 :196 (Aug .
                                                                     would entitle the debtor to recover any
2005) ; see also 5 GA . JUR . UCC § 11 :202 (Aug . 2005) .           loss as a result of that failure . [¶ ] Even if

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     the consumer debtor does not prove a                       admission by Eden that she would not have
     specific monetary loss but proves that the                 been able to beckon others to the sale of her
     creditor did not comply with the statute,                  collateral) .
     the debtor is entitled to recover the
     finance charge plus [ten] percent of the                      Therefore, pursuant to F .R.Civ .P . 56(d) (the
     principal amount of the contract if he or                  court shall specify the issues for trial if it cannot
     she proves those figures .                                 grant summary judgment), the parties shall
                                                                proceed to tri al on these issucs :(a) whether
Delk, 241 Ga .App . at 591 (emphasis added)."                   CitiFinancial in fact sent Eden its de ficiency
                                                                notice ; (b) whether the notice was materially
   Similarly, here, Eden complains about the                    defective ; and (c) whether Eden is entitled to
notice pa rt of the foreclosure process on her                  damages.
personal vehicle , thus making this a consumer
transaction case . See id. ; see also O.C.G.A. §                    As for damages, Eden has elected to pursue
11-9-625(c)(2) . Delk suppo rts her contention                  only the statutory remedies . Doc . # 42 at 2-3 .
that defendant can invoke no "harmless error"                   But she seeks both the UCC and MVSFA
defense (i.e., that the debtor admits she lacked                statutory remedies . Doc. # 28 at 7, 9 . That is,
the funds to redeem her vehicle at the collateral               she demands $5,443 .45 in O .C .G.A . § 11-99-
sale, since such a debtor neve rtheless can                     625(c)(2) (Georgia 's UCC) damages and
beckon others to try and close the deficiency                   $8,329.18 in MVSFA damages . Doc . # 28 at 7,
gap13 ; on that score , CitiFinancial points to n o             9 . CitiFinancial neither challenges her
                                                                computations nor raises a double-recovery
                                                                argument .
12 In pertinent part O .C .G .A . § 11- 9-625 (c)(2) now
provides, as a remedy for a secured party's failure to            While the MVSFA offers what has been
comply with the UCC' s notice requirements :                    construed to be an overlapping and cumulative
                                                                remedy , O .C.G .A. § 10-1-38 (c) (the MVSFA
         If the collateral is consumer goods, a
                                                                provision arguably relevant here)" "does no t
         person that was a debtor or a
         secondary obligor at the time a secured
         party failed to comply with this part
         may recover for that failure in any                              . . . Pa rticularly the last two of these
         event an amount not less than the                                purposes serve the ultimate goal of
         credit service charge plus 10 percent of                         allowing the debtor to maximize the
         the principal amount of the obligation                           sale price of the collateral and, thus,
         or the time price differential plus 10                           minimize any deficiency for which he
         percent of the cash price .                                      will be liable .

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         The purpose of requiring notice is                     Reeves V. Habersham Bank, 254 Ga . 615, 621 (1985)
         three-fold . It gives the debtor an                    (quotes and cite omitted ; emphasis added), abrogated on
         opportuni ty to exercise the right of                  other grounds , Emmons v . Burkett, 256 Ga . 855, 856-57
         redemption of the repossessed                          (1987) .
         collateral . . . It also gives him the
                                                                is
         chance to challenge any aspect of the                       CitiFinancial insists that the MVSFA damage s
         disposition before it is made . Finally,               provisions are limited to finance fee cap violations, not
         it offers the debtor the opportunity to                notice defects like those at issue here . Doc . # 33 at 6 .
         seek out persons who might be                          Defendant may be right about this, but it is not necessary
         interested in purchasing the collateral                to resolve that issue in light of the result reached herein .

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provide a civil remedy for non-willful                        eliminated or reduced under Section 9-
violations of the relevant statutory provisions ."            626 may. not otherwise recover .. . for
Ogletree v . Brokers South, Inc ., 192 Ga.App.                noncompliance with the provisions ...
53, 53 (1989) ; Vickery v. Mobile Home Indus.,                relating to enforcement." (Revised UCC §
171 Ga.App . 566, 567 (1984) (the MVSFA                       9-625[d] .) This provision "eliminates the
does not provide a civil remedy for a nonwillful              possibility of double recovery or other
violation of contract requirements provision) .               over-compensation," but "[b]ecause
                                                              Section 9-626 does not apply to consumer
    Furthermore , the evidence here at most                   transactions, the statute is silent as to
shows that CitiFinancial was negligent in                     whether a double recovery or other
failing to recognize that its 12 /4/03 notice was             over-compensation is possible in a
retu rned damaged (for that matter, a jury will               consumer transaction ." (Official
have to determine if in fact that was the notice              Comment 3 to Revised UCC § 9-625 .)
defendant was required to send Eden ; Eden has                Respected commentators "argue that
only raised an issue of fact on that score).                  double recoveries should be denied in
Because there is not even a jury question that                consumer cases too ." (See White and
CitiFinancial acted out of anything beyond                    Summer, Uniform Commercial Code, §
inadvert ence, Eden cannot invoke § 10 - 1-38(c)              25-13, at 919 [Fifth Ed . 2000] .)
at trial . Vickery, 171 Ga .App . at 567 (Sellers of
mobile home could not be subjected to MVSFA                 Coxall v. Clover Commercial Corp ., 781
civil penalties for violation of contract                   N.Y.S .2d 567, 578 (N .Y. Cty . Civ . Ct . 2004)
requirements provision where any violation was              (emphasis added); see also id. (Debtor who
inadvertent rather than intentional) .                      purchased automobile from dealer was entitled
                                                            to recover one statutory damage remedy under
   That leaves only the UCC remedy . In                     the UCC for secured party's failure to provide
another "failed notice " case , the court noted that        reasonable noti fication of sale of repossessed
under                                                       collateral automobile and failure to sell
                                                            automobile in commercially reasonable manner
   Article 9, "a person is liable for damages               in consumer transaction , with damages being
   in the amount of any loss caused by a                    computed by amount of time-price differential
   failure to comply" with the statute .                    according to retail installment contract plus
   (Revised UCC § 9-625[b] ; see also                       10% of cash price -- even if debtor sustained no
   Former UCC § 9-507[1 1 .) "Damages for                   actual loss from secured party's failure to
   violation of the requirements of [the                    comply with UCC requirements ), cited in GA.
   statute] . . . are those reasonably calculated           ENFORCEMENT SECURITY INTERESTS PERSONAL
   to put an eligible claimant in the position              PROPERTY § 16-4 (3d ed . 2006) ("A secured
   that it would have occupied had no                       party is not liable for the statutory penalty for
   violation occurred ." (Official Comment 3                consumer transactions more than once with
   to Revised UCC § 9-625 .) There are,                     respect to any one secured obligation") .
   however, both supplements to and
   limitations on this general liability                       The Coxall court also concluded that the
   principle.                                               elimination of the offending creditor's
                                                            deficiency claim does not preclude the debtor's
       "[A] debtor . . . whose deficiency is                recovery of statutory damages . Coxall, 781

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N.Y.S.2d at 578-79 (Denial of a deficiency                  furnish accurate information. Subsection
recovery from a debtor to a secured party who               (b) applies to the duties of furnishers upon
does not comply with the UCC's provisions                   notice of a dispute . Plaintiff brings his
should not preclude the debtor's recovery of the            suit pursuant to subsection (a) as there is
statutorily-prescribed minimum damages from                 no allegation that plaintiff notified
the secured party) .                                        [CitiFinancial] of a dispute as is required
                                                            by subsection (b) . Subsection (a),
   This Court agrees with that latter point ;               however, is enforced exclusively by "the
CitiFinancial cites nothing in the UCC/MVSFA                Federal agencies and officials and the
statutory language dictating otherwise . Thus, if           State officials identified in that section ."
Eden prevails at trial and CitiFinancial fails to           15 U.S.C . § 1681s-2(d) . Thus, plaintiff
rebut the presumption that the sale proceeds                does not have a private right of action
equal her debt, she also will be entitled to the            under the FCRA against [CitiFinancial] as
aforementioned Delk statutory damages, as                   a furnisher of information to consumer
clarified in note 12 supra .                                reporting agencies .

   G . FCRA                                              Quigley v. Penn. Higher Educ : Assistance
                                                         Agency, 2000 WL 1721069 at * 2 (N .D.Cal.
   "Congress enacted the FCRA in 1970 to                 11/8/00) (unpublished); see also Howard v .
promote efficiency in the Nation's banking               Blue Ridge Bank, 371 F .Supp .2d 1139, 1147
system and to protect consumer privacy ." TRW            (N.D. Cal . 2005) ; Olexy v. Interstate Assurance
Inc. v. Andrews, 534 U .S . 19, 22 (2001) . "The         Co., 113 F .Supp .2d 1045, 1047 (S .D.Miss.
Act creates a private right of action allowing           2000) . For the same reasons as those set forth in
injured consumers to recover any actual                  Quigley, Eden holds no private right of action
damages caused by negligent violations and               under the FCRA here . This result moots her
both actual and punitive damages for willful             remaining FCRA arguments .
noncompliance ." Id. (quotes and cite omitted) ;
Wantz v . Experian Info . Solutions, 386 F .3d              H . Punitive Damages
829, 833 (7th Cir . 2004) .
                                                            Eden alleges that CitiFinancial acted with
   While Eden does not specify which FCRA                speci fic intent to violate the UCC/MVSFA
provision she invokes, the substance of her              requirements and damage her. Doe . # 1 ¶¶ 87-
allegations are that CitiFinancial accurately            89. However, as mentioned above she points to
reported the repossession to credit agencies but,        no evidence to support the requisite malicious
nowthat the repossession is adjudged wrongful,           or reckless conduct here -- only simple
that made such reporting defective, thus                 negligence at most . Cf. Gateway Bank & Trust
constituting a willful (as in malicious) FCRA            v. Timms, 259 Ga .App . 299, 301 (2003) (Bank
violation. This claim fails :                            acted with entire want of care which raised
                                                         presumption of conscious indifference to
  The FCRA, 15 U .S .C . § 1681s-2,                      consequences of wrongful repossession of
  regulates the responsibilities of furnishers           plaintiffs flatbed trailer , and thus , punitive
  of information to consumer reporting                   damages award of $30 ,000 was justified, in
  agencies . Subsection (a) provides that                action for trover, where no effo rt was made
  furnishers of information have a duty to               after repossession to identify owner of trailer ,

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bank did not notice license tag affixed to trailer         § 13-1-11 attorney fees and costs on its
during inspection after seizing trailer, and when          deficiency-judgment counterclaim . Upon a
plaintiff, as true owner of vehicle, called to             deficiency, the holder of the indebtednes s
demand return of trailer, bank merely referred
her to its counsel) . Therefore, defendant is                 is required to notify the debtor of the
entitled to summary judgment against Eden on                  obligation of atto rney fees as agreed upon
her punitive damages claim .                                  by the parties . O .C.G .A. § 13-1-11(a)(3) .
                                                              If the Note provides for payment of
   1. Attorney Fee s                                          reasonable attorney fees, without
                                                              specifying any specific percent, "such
   Plaintiff pursues attorney fees under the                  provisions shall be construed to mean
FDCPA, doc . # 1 at 19 ("Prayer For Relief') ¶                fifteen percent of the first $ 500.00 of
D, and possibly also the FCRA, id. ¶ (G) (again               principal and interest owing on such note
seeking same under FDCPA but perhaps this is                  . .. and ten percent of the amount of the
a typo and she really meant FCRA) . In light of               principal and interest owing thereon in
the Court's rulings above, these claims also fail .           excess of $ 500.00 ." O .C.G .A. §
But Eden also pursues O .C .G.A. § 13-6-11                    13-1-11(a)(2) .
attorney fees/costs . Doc . # I at 19 ¶ (F) . That
statut e                                                   Financila, 2006 WL 901722 at * 7 . Here the
                                                           defendant at t rial must show entitlement to its
   permits the jury to award attorney fees                 counterclaim (and rebut the above - desc ribed
   "where the defendant has acted in bad                   presumption if the jury finds its notice
   faith, has been stubbornly litigious, or has            defective) and also demonstrate that it complies
   caused the plaintiff unnecessary trouble                with the Financila requirements excerpted
   and expense ." [Section 13-6-11] . If a                 above . See doc. # 3 at 22 (Counterclaim
   bona fide controversy exists, the plaintiff             seeking O .C.G.A . § 13-1- 11 fees) .
   may recover attorney fees under this Code
   section only if the defendant has acted in                  However , just as the Court has found
   bad faith in the underlying transaction .               insufficient evidence to support an O .C.G.A. §
                                                            13-6-11 fee claim by plaintiff against defendant,
DOT v. Hardin-Sunbelt, Joint Venture, 266                  it likewise finds the same with respect to
Ga.App . 139, 146 (2004) . Yet here the plaintiff          defendant 's § 13-6-11 fee claim against plaintiff
also fails to cite sufficient evidence -- under any        (doc . # 3 at 22 ¶ 12), so it sua sponte grants
of the § 13-6-11 grounds -- to take this claim to          Eden summary judgment on that claim .
trial. Compare Gateway, 259 Ga.App . at 302
(Award of attorney fees was warranted, in                     J. Prejudgment Interes t
trover action against bank for wrongful
repossession of flatbed trailer; bank acted in bad           Further narrowing the issues for trial under
faith when it failed to attempt to identify                Rule 56(d), the Court notes that Eden seeks
trailer's owner prior to seizing it) . The Court           prejudgment interest, doc . # 1 at 20, while
therefore grants defendant summary judgment                CitiFinancial does not . Doc . # 3 at 20-23 .
on this claim .                                            Whether to award prejudgment interest turns on
                                                           whether an amount sought is liquidated (fixed
  CitiFinancial , in contrast, pursues O .C.G.A.           and easily ascertainable) or unliquidated (e .g.

                                                      16
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pain and suffering, which a factfinder must            plaintiff. Meanwhile, CitiFinancial's motion for
determine) . See Commercial & Military Sys .           summary judgment (doe . # 32) is GRANTED in
Co ., Inc . v. Sudimat, C .A ., 267 Ga .App . 32, 39   part and DENIED in part . Finally, within 30
(2004) (authorizing prejudgment interest where         days of the date this Order is served, the parties
damages are ascertainable at the time of a             shall file a Consolidated Pretrial Order .
contract breach) ; 5 GA . PROC. VERDICT AND                  `I
                                                              I,   R G   I~



JUDGMENTS § 7 :12 (What constitutes liquidated           This 1;day of June, 2006 .
claim, debt, or damages) (Aug . 2005) ("[A]n
amount claimed is a liquidated demand if it is
susceptible of being made certain in amount by
mathematical calculations from factors that are
or ought to be in possession or knowledge of           B. AVAKIf EDENFI , JUDGE
the party to be charged") .                            UNITED STATES STRICT COURT
                                                       SOUTHERN DISTRICT OF GEORGIA
   "Liquidated damages incur prejudgment
interest as a matter of law ." GEORGIA
CONTRACTS : LAW AND LITIGATION § 12-25 .
(Liquidated and unliquidated damages) (2006) .

   Here the UCC/MVSFA notice provisions are
read into the parties' financing contract as a
matter of law, so the breach of those provisions
constitutes a contract breach involving
liquidated (indeed, statutorily set) damages . See
Delk, 241 Ga.App . at 591 ("[T]he debtor is
entitled to recover the finance charge plus [ten]
percent of the principal amount of the contract
if he or she proves those figures") .

   That, in turn , triggers application of
O.C .G.A . § 7-4-15 (payment of interest on
liquidated demands), which means that the
plaintiff, should she prevail at trial , would be
entitled to the legal rate (7%) of interest under
O.C.G.A. § 7-4-2(a)(1)(A) . See Gray v . King,
270 Ga .App . 855, 856 (2004).

IV. CONCLUSIO N

   Plaintiff Lynette Tankersley Eden 's motion
for partial summary judgment (doe . # 28) is
DENIED . Nevertheless, the Court sua sponte
GRANTS plaintiff summary judgment against
defendant CitiFinancial Auto, Ltd . on its
O.C .G.A. § 13-6-11 counterclaim against the
